
Upon consideration of the petition filed on the 23rd of June 2015 by Plaintiffs in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order *558was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 15th of December 2015."
Ervin, J. recused.
Upon consideration of the petition filed by Plaintiffs on the 21st of July 2015 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 15th of December 2015."
ERVIN, J. recused.
